
The Supreme Court affirmed the decree of the Common Pleas on March 5th, 1883, in the following opinion:
Per Curiam.
In the alleged settlement the appellee acted in a fiduciary ■character. The receipt which he gave was not to be a satisfaction of the judgment, unless the terms of settlement were approved by the Court. They were not so approved. In addition to this, the Court had actually passed upon the merits of this case in a former application. Granting that it was in an irregular proceeding, yet if all the equities were there submitted by the parties, and considered and decided by the Court, without .any objection to the form of application, the decree therein made, may well be held sufficient to defeat this bill in equity.
Decree affirmed and appeal dismissed at the costs of the appellant.
